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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOSE CRUZ,                                               )
                                                         )    Case No. 23-cv-4268
               Plaintiff,                                )
                                                         )    Honorable Judge Daniel
       v.                                                )    Magistrate Judge Fuentes
                                                         )
FORMER DETECTIVE REYNALDO                                )
GUEVARA, et al,                                          )    JURY DEMAND
                                                         )
       Defendants.                                       )

           OFFICER DEFENDANTS REPLY IN SUPPORT OF DEFENDANTS’
         MOTION TO COMPEL COOK COUNTY STATE’S ATTORNEY’S OFFICE

       Defendants, Stephen Gawrys, Robert Rutherford, Anthony Riccio, Edward Mingey,

Anthony Wojcik, Robert Boris, and Geri Lynn Yanow as special representative for Ernest

Halvorsen, deceased (“Officer Defendants”), through their attorneys, The Sotos Law Firm,

submit their reply to Cook County State’s Attorney’s Office’s (“CCSAO”) Response to

Defendants Motion to Compel (“Response”).

       On March 18, 2024, Officer Defendants moved to compel the CCSAO to comply with

their document subpoena (“Motion”) under Fed. R. Civ. Proc. 45 because its privilege logs failed

to identify and describe the nature of the documents withheld and/or redacted to provide

sufficient basis to assess whether the privileges were properly invoked under Fed. R. Civ. Proc.

26(b)(5). (Dkt. 135, pp. 4-7.) In addition to the insufficiency of the privilege logs, the Motion

explained that the CCSAO’s response to the subpoena did not address its inability to assert work

product privilege as a third party (id., pp. 7-9) nor did the CCSAO meet its burden to support its

deliberative process privilege claims (id., pp. 9-11).
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       On March 22, 2024, this Court held a hearing on the Motion and pointedly directed the

CCSAO to address the insufficiency of its privilege logs which barely identify the records

redacted and/or withheld, do not support many of the privileges claimed, and rely on state court

statutes rather than federal law. In addition, this Court inquired as to the basis for redacting

and/or withholding information when the records can be produced under the Protective Order in

place. This Court further suggested that the CCSAO may very well have waived its privileges by

virtue of the four-month delay in providing any response to the subpoena. The CCSAO requested

time to respond in writing and filed its Response on March 29, 2024. (Dkt. 141.) On April 1,

2024, this Court entered an Order allowing Officer Defendants to file a reply to address the

Response. (Dkt. 142.)

       The CCSAO Response does nothing to cure the insufficiency of its privilege logs.

Instead, it disregards entirely the lack of information set forth in those logs and the absence of

any description of the documents redacted and/or withheld. Substantively, the CCSAO still has

not met its burden to establish a basis to withhold documents under a deliberative process

privilege claim and fails to address in any way that work product privilege does not apply to

third parties. Lastly, the CCSAO’s months-long delay in producing the records and continued

reliance on improper privilege claims in obstruction of the discovery process, even after this

Court’s specific directives, demonstrate that the claims have been waived.

       At bottom, the CCSAO has not met its burden to support any of its privilege claims and

its continued failure to address the insufficiencies serves only to thwart the discovery process and

spawn an unnecessary waste of attorney and judicial resources. To avoid further expense and

delay, this Court should determine that the CCSAO has waived its objections and order




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production of the information and documents, or in the alternative order production to this Court

for an in camera review to determine the propriety of the CCSAO’s privilege claims.

I.       The CCSAO Has Not Cured The Insufficiency of its Privilege Logs

         Since the CCSAO first produced its original privilege log in January 2024, counsel for

Officer Defendants has repeatedly requested that it provide missing information necessary to

assess its privilege claims as required under Fed. R. Civ. Proc. 26(b)(5). (Motion to Compel, Ex.

C.) However, the CCSAO has maintained that its privilege logs were “as detailed as the law

allows us to get.” (Id., Ex. C, p. 7.) And even in the face of this Court’s admonition, the CCSAO

Response fails to address the fundamental flaw with its privilege claims—a complete lack of

identification and description of the documents redacted and/or withheld sufficient to assess

whether the privilege claims are properly invoked as required under Fed. R. Civ. Proc. 26(b)(5).

         A.     The CCSAO fails to assert a proper basis to withhold personal identity
                information

         Officer Defendants objected to the CCSAO’s blanket claims of multiple privileges over

large swaths of documents without any indication of what privilege applies to each redaction

and/or record withheld. Among those multiple privilege claims was “Personal Identity

Information.” At the hearing on the Motion to Compel, this Court inquired about the legitimacy

of this privilege. The CCSAO Response acknowledges that this claim is not a privilege at all, but

now contends that it is prohibited from disclosing victim information per Illinois statute, citing a

general reference to 725 ILCS §120/4. (Response, pp. 9-10.) However, this statute does not

delineate any such prohibitions. Id. In addition, the CCSAO’s reliance on 815 ILCS 530 (the

Illinois Personal Information Protection Act) (id.) is equally misplaced because the law applies to

“data collectors” that own or license personal information such as financial institutions and

requires notification if a breach occurs rather than address any prohibition on disclosure by the

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CCSAO in response to a federal subpoena. To be sure, the CCSAO does not identify any federal

basis for this claimed privacy privilege. A cursory review of the records for which the redactions

were applied indicate that many are made to the Chicago Police Department (“CPD”) police

reports from the underlying criminal investigation—information that is both relevant and

necessary to defend against Plaintiff’s allegations here. If this Court finds it necessary, these

records can be produced pursuant to the Protective Order in place. (Dkt. No. 111.)

       B. The CCSAO inadequately addresses withholding under HIPAA

       At the motion hearing, this Court further inquired about the withholding of medical

information under HIPAA. As counsel for Officer Defendants advised, the CCSAO fails to

provide any specificity as to the nature of the documents withheld and does not even identify the

individual about whom the documents pertain in order to support the privilege claim. Even if

further specificity was provided, the CCSAO has provided no basis to establish that HIPAA

prohibits its production of records responsive to a subpoena here. The CCSAO argues under the

general misconception that HIPAA prohibits any and all entities from producing medical related

records or information without a waiver from the individual. (Response, pp. 10-11.) However,

the CCSAO is not a covered entity under HIPAA (see 45 C.F.R. §164.104), and even if it were, a

subpoena or court order requires compliance (45 C.F.R. §164.512(e)).

       Even though the CCSAO privilege log provides no detail about what these records are or

to whom they pertain, a review of the surrounding records appears to indicate that the records

consist of: 1) Plaintiff’s jail intake and bruise sheet (CCSAO 000204-000205), 2) Plaintiff’s jail

medical records (CCSAO 000206-000211, 000832-000837, 000894-000898), and 3) a one-page

response to a subpoena issued in the underlying criminal case for medical records related to

witness Pedro Jaramillo for the date of the shooting (CCSAO 000715). If the CCSAO believed a



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waiver was necessary, it has never proffered that it sought a waiver from either Plaintiff or

Jaramillo over the many months the subpoena has been outstanding. Because Plaintiff has put his

own medical state at issue here, his intake and jail medical records should be produced. In

addition, a single-page subpoena response for Jaramillo’s medical records infers that no records

were produced, so Officer Defendants request an in camera review to assess whether the

privilege has been appropriately invoked.

       C.      The privilege log provides insufficient information for withholding LEADS
               data

       While the CCSAO’s argument pertaining to withholding of LEADS records (Response,

pp. 11-12) is responsive to this Court’s inquiry during the motion hearing, the fact remains that

the privilege logs do not provide sufficient description to assess whether the claim is properly

invoked. Instead, the CCSAO appears to claim that it is unable to disclose LEADS records it

obtains under any circumstances pursuant to state statute and federal regulations which prohibit

disclosure of criminal history information as well as terms under its LEADS contract with the

Illinois State Police. (Response, pp. 11-12.) However, the privilege log (and Response) does not

indicate whether the LEADS information at issue was obtained through its own data search or if

the records were provided to it by the Chicago Police Department (“CPD”) as part of the Officer

Defendants’ underlying criminal investigation. If CPD is the source, it is unclear why the

CCSAO cannot produce those records back to the source of that data. In addition, if received

from CPD as part of the underlying criminal investigation or if obtained by the CCSAO as part

of the underlying criminal prosecution, then those records are relevant and necessary for the

probable cause inquiry at issue here and can be produced under the existing Protective Order.

       D.      The privilege logs lack sufficient detail to assess withheld juvenile records




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       Similarly, the CCSAO has withheld documents it vaguely describes as “juvenile records,”

citing to the Illinois Juvenile Court Act as the basis. As explained in Officer Defendants’ Motion

to Compel and as discussed at the motion hearing, absent further details regarding what specific

documents the CCSAO is classifying as “juvenile records” the Officer Defendants (and this

Court) are unable to ascertain if these documents are properly withheld. For example, if the

“juvenile records” contain juvenile court file documents, Officer Defendants understand that it

would be necessary to petition the juvenile court to release those records. However, the “juvenile

records” at issue appear, at least in part, to be CPD reports related to a juvenile victim and/or

witness in the underlying criminal investigation which do not warrant any such prohibition on

production. Accordingly, Officer Defendants requesting an in camera review of these records to

determine whether the privilege appropriately applies or order the CCSAO to provide sufficient

information to properly assess the CCSAO assertions.

II.    This Court Has the Authority to Order the Disclosure of Grand Jury Materials

       At the motion hearing, this Court questioned the CCSAO’s basis for withholding the

grand jury materials from the underlying criminal investigation and prosecution. As counsel for

Officer Defendants explained upon this Court’s prompting, they had filed a motion to release the

materials in the criminal court and the CCSAO requested briefing to argue its objections to the

motion, which were the same reasons argued in another similar reversed-conviction case, People

v. Juan and Rosendo Hernandez, No. 97 CR 21329. (Ex. A, Motion for Release of Grand Jury

Materials, People v. Jose Cruz; Ex. B, Motion for Release of Grand Jury Materials, CCSAO

Response, and Order granting motion, People v. Juan and Rosendo Hernandez.) Upon learning

that those same arguments were rejected by the criminal court, counsel for Officer Defendants

suggested to the CCSAO that it reconsider its objection in light of this recent decision. (Ex. C,



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Email Correspondence.) Oddly, the CCSAO Response argues that counsel for Officer

Defendants was “attempt[ing] to leverage ASA Hallett via email to drop CCSAO’s objection to

release [the grand jury materials].” (Response, p. 8.) Quite to the contrary, Officer Defendants

merely sought to promote judicial economy and expeditiously move this case forward by

avoiding lengthy and unnecessary briefing on an issue that already has been addressed by the

criminal court.

       The CCSAO contends that this Court lacks the authority to release state court grand jury

materials. (Response, p. 7-9.) This simply is not the case. In Washington, et al. v. City of

Chicago, Judge Shah addressed this very issue and ordered the Cook County Public Defender’s

Office (“CCPDO”) to release grand jury materials pursuant to subpoena. Washington, et al. v.

City of Chicago, 20 CV 00442, Dkt. No. 34 (N.D. Ill. April 13, 2020). Of note, the CCPDO did

not object to the release of the grand jury materials and simply requested a court order in order to

do so. Id. Given the CCSAO’s concerns about potential penalties for releasing the materials

without court order (Response, pp. 8-9), the same can be accomplished here while achieving

substantial savings of expense, time, and judicial resources.

III.   The CCSAO Has Not Properly Asserted Deliberative Process Privilege

       Despite numerous requests by Officer Defendants for sufficient information to support its

deliberative process privilege claims and months of delay, the CCSAO belatedly contends that it

has now done so, relying solely on the affidavit of Assistant State’s Attorney Lyle Henretty

(“ASA Henretty”), which was only recently produced after facing the Motion to Compel and this

Court’s indication that its claims were unsupported. (Response, Ex. 4.) While the affidavit

indicates that ASA Henretty is the department head with control over the respective documents,

the CCSAO still has not provided the precise and certain reasons for preserving the



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confidentiality of the records sought—described merely as “internal memoranda,” “testimony,”

and “ASA notes”—and no explanation of the reasons why they these particular records should be

kept confidential as required. See Ferrell v. United States Dep’t of Housing and Urban Dev., 177

F.R.D. 425, 428 (N.D. Ill. 1998.)

       The CCSAO now argues that the records fall within four vague categories: 1) “ASA

handwritten notes from trial that convey the thought process behind the trial,” 2) “ASA case

notes written throughout the actual preparation of the case leading up to trial which convey the

thought process behind the way the prosecutor presented the information he had,” 3) “documents

that are drafts of trial preparation materials that convey the planning of arguing the State’s

positions, including internal worksheets,” and 4) “a multipage internal memo written during

preparation for conviction integrity proceedings.” (Response, p. 7.) However, this minimal detail

still falls short of the specificity required to enable assessment of the propriety of the privilege

invocation. The CCSAO fails to provide even the most basic requirements for a privilege log to

identify specific details for each document, such as the author of each note, the date on which it

was drafted, to whom the note was intended, and it further is silent as to the true depth of topics

that could cover the trial thought processes.

       Further, the CCSAO has provided no basis to establish that any of these records rise to

the level of deliberative process privilege which covers “documents reflecting advisory opinions,

recommendations and deliberations comprising part of the process by which governmental

decisions and policies are formulated.” Dept. of Interior v. Klamath Water Users Protective

Assoc., 532 U.S. 1, 9 (2001). For the privilege to apply, the document or communication must be

“pre-decisional” and “deliberative.” Evans v. City of Chicago, 231 F.R.D. 302, 316 (N.D. Ill.

2005). Further, it extends only to records that are generated before the adoption of policy and



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reflect the give-and-take of the consultative process. United States v. Bd. Of Ed. Of City of Chi.,

610 F.Supp. 695, 698 (N.D. Ill. 1985). In addition, the decisions themselves are not protected,

nor are the reasons for those decisions, or the facts discovered in the course of investigating and

considering the decisions, because that information is either post-decisional or non-deliberative.

See Saunders v. City of Chicago, 2015 WL 4765424 at *10 (N.D. Ill. Aug. 12, 2015).

        The CCSAO’s generic assertion that all trial preparation notes constitute deliberative

process is wholly inadequate. ASA Henretty’s affidavit lacks any identification or description of

the information over which it claims privilege, nor does it set forth the precise and certain

reasons for preserving confidentiality. Accordingly, the CCSAO has failed to satisfy even the

threshold showing necessary to make a prima facie showing of deliberative process here. See, id.

(the official must specifically identify and describe the documents subject to the privilege);

Saunders v. City of Chicago, 2015 WL 4765424 at *10 (discussion of objective facts, as opposed

to opinions and recommendations, generally is not protected by the deliberative process

privilege.); Fulton v. Benoit, et al., 17 CV 8696, Dkt. 290 (Dec. 4, 2020) (CCSAO motion to

quash depositions of decision-makers based on deliberative process privilege denied).

        Without the descriptions and reasoning required to support its deliberative process

privilege claims, it is impossible to determine if even one document is correctly withheld or

redacted. Again, the burden is on the CCSAO to establish that its privilege claims are properly

invoked, and it has failed to do so. Accordingly, the documents should be produced for in camera

review on the propriety of the privilege claims or, in this Court’s discretion, produced in their

entirety.

IV.     The CCSAO Ignores The Work Product Privilege Issues Entirely




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       The CCSAO also invokes a blanket claim of work product privilege over myriad

documents. See, Motion to Compel, pp. 5-9. However, as explained in Defendants’ Motion to

Compel, the CCSAO cannot avail itself of this privilege as a non-party. Id. Courts in this district

have clearly held that “non-parties may not invoke the work product doctrine to withhold

documents sought via Rule 45 subpoena.” See, e.g., Hill v. City of Chicago, 2015 WL 12844948,

*2 (N.D. Ill. May 28, 2015) (collecting cases). In addition, Defendants have established a

substantial need for these documents. The CCSAO provides no response whatsoever to address

these work product privilege issues.

V. Waiver

       At the hearing on the Motion to Compel, this Court suggested that the CCSAO may have

waived its privilege claims due to its failure to timely respond to the subpoena and assert the

privileges. The CCSAO argues there is no waiver based on the initial extension of time requested

to respond to the subpoena. (Response, pp. 3-4.) However, while counsel for Officer Defendants

accepted the CCSAO’s initial request for additional time, no extension covered its inability to

timely provide responsive records—which still have not been fully produced—or its adequate

privilege logs. Counsel for Officer Defendants has continually requested production of the

records and proper privilege logs, but were ultimately required to file the instant Motion to

Compel which warrants a finding of waiver. See Young v. City of Chicago., 2017 WL 25170, *6

(N.D. Ill. Jan. 3, 2017) (a subpoenaed nonparty must “prepare an adequate privilege log or risk

an order compelling disclosure of the allegedly privileged material.”); see also Mosley v. City of

Chicago, 252 F.R.D. 445, 449 n.5 (N.D. Ill. 2008) (rejecting respondent’s excuse for failing to

provide a privilege log); Schaeffer v. City of Chicago, No. 19 C 7711, 2020 WL 7395216, at *1,

n.1 (N.D. Ill. Aug. 12, 2020) (collecting cases that hold “if any party or non-party submits a



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privilege log that does not comply with applicable law, then the failure to provide a proper

privilege log may result in waiver.”).

        The CCSAO’s claim of timeliness (Response, p. 4) is belied by the record which

establishes that it did not produce records or a privilege log for four months after the subpoena

was issued. (Motion to Compel, p. 2.) And now six months later, we still have not received the

entirety of the file materials or adequate privilege logs. Both Fed. R. Civ. P. 45 and 26(b)(5) offer

the CCSAO a choice to provide an adequate privilege log or face the possibility of this court

compelling disclosure of the asserted privilege material. See Young v. City of Chicago., 2017 WL

25170, *6 (N.D. Ill. Jan. 3, 2017.) Officer Defendants are in no better position now, in April, than

in January when the CCSAO began its rolling production of documents. The CCSAO has

refused attempts to cure the defects in its privilege logs as repeatedly requested by Officer

Defendants in order to avoid the instant motion practice. Instead, the CCSAO continues to stand

on its insufficient and unsupported privilege assertions even after this Court stated during the

motion hearing that its privilege logs were deficient.

       Unfortunately, the CCSAO has established a pattern of such unsupported claims which

have required extensive motion practice. See e.g., Washington-Riley v. Chicago, 19 CV 6160,

Dkt. 90 (Oct. 15, 2020) (MJ Weisman) (noting “[t]he CCSAO has not, however, produced a

privilege log or affidavit, or otherwise provided any explanation as to why the responsive

documents are subject to privilege. Absent such information, the CCSAO has not shown the

responsive documents are subject to privilege.”); Saunders v. City of Chicago, 2015 WL 4765424

at *10 (N.D. Ill. Aug. 12, 2015) (discussion of objective facts, as opposed to opinions and

recommendations, generally is not protected by the deliberative process privilege.); Brown v.

City of Chicago, 18 CV 7064 (July 28, 2020) (denying in part the CCSAO’s motion to quash



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depositions and identifying several discoverable topics claimed as deliberative process privileged

which defendants were allowed to explore.); Fulton v. Benoit, et al., 17 CV 8696, Dkt. 290 (Dec.

4, 2020) (CCSAO motion to quash depositions of decision-makers based on deliberative process

privilege denied). Accordingly, a finding of waiver is warranted.

       Wherefore, Officer Defendants respectfully request this Court order CCSAO to produce

the redacted and/or withheld records as delineated herein.



Dated: April 8, 2024                         Respectfully submitted,

                                             /s/ Lisa M. Meador
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                               CERTIFICATE OF SERVICE

        I certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that the foregoing is
true and correct, that April 8, 2024, I electronically filed the foregoing Officer Defendants
Reply In Support of Defendants’ Motion to Compel Cook County State’s Attorney’s Office
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
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